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COUNTY OF NASSAU
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February 11, 2016

VIA ECF

The Honorable Magistrate Judge Gary R. Brown

United States District Court- Eastern District of New York
100 Federal Plaza

P.O, Box 9014

Courtroom 840

Central Islip, NY 11722-9014

Re: N'Daya Lee, individually and as the Administratrix of the Estate of Diane Parker-Reed v.
Incorporated Village of Hempstead, County of Nassau, Set. Kevin Galvin, Claudia
Serrano, Lt. Patrick Cooke, Sgt. John Zoll, Lt. Edward Hayman, P.O. Vito Buccellato,
P.O, Christopher N. Cohen, Set. Ivory G. Dixon, P.O. Jack Guevrekian, P.O. Edward
Mulhearn, P.O. Roman Pettway, Jr., P.O. Frane Reado, P.O. Leroy D. Ridley, Det.
Donald J, Bittner, Deputy Sheriff John M. Flanagan, John and Jane Does 1-10, and John
and Jane Does 11-20

Dear Magistrate Brown:

As you are aware, The Court issued an Order on February 1, 2016 directing the County Defendants to
provide the attorney for N’Daya Lee the executive summary portion of a IAU report relating to another
lawsuit. Our deadline to file objections to this Order is on February 15, 2016. We are respectfully
requesting that our deadline to file said objections be extended to February 22, 2016 so that our
objections to the legal issues determined in that Order can be fully addressed.

Counsels for the plaintiff and the co-defendant have been made aware that our office would be seeking
this extension.

Sincerely,

 
 
  
 

 

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~ounty Attorney

 
Case 2:14-cv-02853-ADS-GRB

VIA ECF

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